                Case 1:15-cr-02042-SAB                    ECF No. 190                filed 09/08/16        PageID.753 Page 1 of 7
                                                                                                                                          FILED IN THE
 2$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH                                                                               U.S. DISTRICT COURT
                6KHHW5HYLVHGE\:$('                                                                              EASTERN DISTRICT OF WASHINGTON



                                                                                                                                 Sep 08, 2016
                                              81,7('67$7(6',675,&7&2857                                                           SEAN F. MCAVOY, CLERK

                                                (DVWHUQ'LVWULFW RI :DVKLQJWRQ
           81,7('67$7(62)$0(5,&$                                           JUDGMENT IN A CRIMINAL CASE
                      V.
                                                                              &DVH1XPEHU           1:15CR02042-SAB-2
               HADAR M. ROJAS-ZARATE
                                                                              8601XPEHU            17846-085
              a/k/a Rojas Zarate, Hadar Misraim
                                                                                     Kenneth D. Therrien
                                                                              'HIHQGDQW¶V$WWRUQH\




 THE DEFENDANT

 ✔SOHDGHGJXLOW\WRFRXQW V
 G                                     3 of the Superseding Indictment
 G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
    ZKLFKZDVDFFHSWHGE\WKHFRXUW
 G ZDVIRXQGJXLOW\RQFRXQW V
    DIWHUDSOHDRIQRWJXLOW\

 7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

 Title & Section                             Nature of Offense                                                                       Offense Ended Count
21 U.S.C. § 841(a)(1) and                 Possession with Intent to Distribute a Controlled Substance and Aiding and                    06/09/15    3s
18 U.S.C. § 2                             Abetting




        7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHVWKURXJK                        7       RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWR
 WKH6HQWHQFLQJ5HIRUP$FWRI
 G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
 ✔&RXQW V
 G                any remaining                            G LV         ✔DUHGLVPLVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
                                                                        G
          ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPHUHVLGHQFH
 RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG,IRUGHUHGWRSD\UHVWLWXWLRQ
 WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                               9/7/2016
                                                             'DWHRI,PSRVLWLRQRI-XGJPHQW
                                                             'DWHRI,PSRVLWLRQRI -XGJPHQW




                                                             6LJQDWXUH
                                                             6LJQDWXUHRI-XGJH
                                                             6L L     UHHRI-XGJH




                                                             The Honorable Stanley A. Bastian                     Judge, U.S. District Court
                                                             1DPHDQG7LWOHRI-XGJH
                                                             


                                                                 9/8/2016
                                                             'DWH
                                                             
              Case 1:15-cr-02042-SAB                   ECF No. 190             filed 09/08/16       PageID.754 Page 2 of 7
$2%    5HY -XGJPHQWLQ&ULPLQDO&DVH
           6KHHW²,PSULVRQPHQW

                                                                                                         -XGJPHQW²3DJH   2       RI   7
'()(1'$17 HADAR M. ROJAS-ZARATE
&$6(180%(5 1:15CR02042-SAB-2


                                                              IMPRISONMENT

       7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH)HGHUDO%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUDWRWDO
WHUPRI

        120 months in custody, credit for time served.




   ✔ 7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV
   G
        1) participation in BOP Inmate Financial Responsibility Program.
        2) placement at BOP facility near Sheridan, Oregon, to make it more convenient for family visitation.


   ✔ 7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO
   G

   G 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
       G     DW                                      G DP     G SP          RQ                                             

       G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

   G 7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV
       G     EHIRUHSPRQ                                              

       G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

       G     DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                    RETURN
,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




       'HIHQGDQWGHOLYHUHGRQ                                                              WR

DW                                                   ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



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                                                                                                   '(387<81,7('67$7(60$56+$/
                Case 1:15-cr-02042-SAB                   ECF No. 190           filed 09/08/16          PageID.755 Page 3 of 7
$2%      5HY -XGJPHQWLQD&ULPLQDO&DVH
             6KHHW²6XSHUYLVHG5HOHDVH

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                                                                                                                -XGJPHQW²3DJH             RI
'()(1'$17 HADAR M. ROJAS-ZARATE
&$6(180%(5 1:15CR02042-SAB-2
                                                          SUPERVISED RELEASE
8SRQUHOHDVHIURPLPSULVRQPHQWWKHGHIHQGDQWVKDOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI                 5 years.




7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVRIVXSHUYLVLRQDVZHOODVZLWKDQ\VSHFLDOFRQGLWLRQVRIVXSHUYLVLRQVHWIRUWKEHORZ
                                          STANDARD CONDITIONS OF SUPERVISION

       7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH

      7KH GHIHQGDQW VKDOO QRW XQODZIXOO\ SRVVHVV D FRQWUROOHG VXEVWDQFH 7KH GHIHQGDQW VKDOO UHIUDLQ IURP DQ\ XQODZIXO XVH RI D
       FRQWUROOHGVXEVWDQFHLQFOXGLQJPDULMXDQDZKLFKUHPDLQVLOOHJDOXQGHUIHGHUDOODZ7KHGHIHQGDQWVKDOOVXEPLWWRRQHGUXJWHVW
       ZLWKLQGD\VRIUHOHDVHIURPLPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWVWKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW

           *  7KH DERYH GUXJ WHVWLQJ LV VXVSHQGHG EDVHG RQ WKH FRXUW¶V GHWHUPLQDWLRQ WKDW WKH GHIHQGDQW SRVHV D ORZ ULVN RI IXWXUH
           VXEVWDQFHDEXVH &KHFNLIDSSOLFDEOH

        ✔7KHGHIHQGDQWPXVWQRWRZQSRVVHVVRUKDYHDFFHVVWRDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUGDQJHURXVZHDSRQ
       *
         LHDQ\WKLQJWKDWZDVGHVLJQHGRUZDVPRGLILHGIRUWKHVSHFLILFSXUSRVHRIFDXVLQJERGLO\LQMXU\RUGHDWKWRDQRWKHUSHUVRQ
        VXFKDVQXQFKDNXVRUWDVHUV  &KHFNLIDSSOLFDEOH

          ✔7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU &KHFNLIDSSOLFDEOHVHH 
           *
           86&  D G DOO IHORQLHV FULPHV XQGHU &K $ FULPHV RI YLROHQFH DQG DWWHPSWV RU FRQVSLUDF\ WR FRPPLW WKHVH
           FULPHV 
       * 7KH GHIHQGDQW VKDOO FRPSO\ ZLWK WKH UHTXLUHPHQWV RI WKH 6H[ 2IIHQGHU 5HJLVWUDWLRQ DQG 1RWLILFDWLRQ $FW  86& 
         HW VHT  DV GLUHFWHG E\ WKH SUREDWLRQ RIILFHU WKH %XUHDX RI 3ULVRQV RU DQ\ VWDWH VH[ RIIHQGHU UHJLVWUDWLRQ DJHQF\ LQ
        ZKLFKKHRUVKHUHVLGHVZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH &KHFNLIDSSOLFDEOH

        *  7KH GHIHQGDQW VKDOO SDUWLFLSDWH LQ DQ DSSURYHG SURJUDP IRU GRPHVWLF YLROHQFH LI RQH H[LVWV ZLWKLQ D PLOH UDGLXV RI
         GHIHQGDQW¶V OHJDO UHVLGHQFH &KHFN LI DSSOLFDEOHVHH  86&   G  IRU GHIHQGDQWV FRQYLFWHG RI D GRPHVWLF YLROHQFH
         FULPHGHILQHGLQ E 

       ,IWKLVMXGJPHQWLPSRVHVUHVWLWXWLRQDILQHRUVSHFLDODVVHVVPHQWLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDWWKHGHIHQGDQWSD\
        LQDFFRUGDQFHZLWKWKH6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW7KHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHURIDQ\
        PDWHULDOFKDQJHLQWKHGHIHQGDQW¶VHFRQRPLFFLUFXPVWDQFHVWKDWPLJKWDIIHFWWKHGHIHQGDQW¶VDELOLW\WRSD\DQ\XQSDLGDPRXQW
        RIUHVWLWXWLRQILQHRUVSHFLDODVVHVVPHQWV

       7KHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHIHGHUDOMXGLFLDOGLVWULFWZKHUHKHRUVKHLVDXWKRUL]HGWRUHVLGHZLWKLQ
        KRXUVRIUHOHDVHIURPLPSULVRQPHQWXQOHVVWKHSUREDWLRQRIILFHUWHOOVWKHGHIHQGDQWWRUHSRUWWRDGLIIHUHQWSUREDWLRQRIILFH
        RUZLWKLQDGLIIHUHQWWLPHIUDPH

       $IWHULQLWLDOO\UHSRUWLQJWRWKHSUREDWLRQRIILFHWKHGHIHQGDQWZLOOUHFHLYHLQVWUXFWLRQVIURPWKHFRXUWRUWKHSUREDWLRQRIILFHU
        DERXWKRZDQGZKHQWRUHSRUWWRWKHSUREDWLRQRIILFHUDQGWKHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHUDVLQVWUXFWHG

      7KHGHIHQGDQWPXVWQRWNQRZLQJO\OHDYHWKHIHGHUDOMXGLFLDOGLVWULFWZKHUHKHRUVKHLVDXWKRUL]HGWRUHVLGHZLWKRXWILUVWJHWWLQJ
        SHUPLVVLRQIURPWKHFRXUWRUWKHSUREDWLRQRIILFHU
              Case 1:15-cr-02042-SAB                    ECF No. 190            filed 09/08/16          PageID.756 Page 4 of 7
$2%    5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW$²6XSHUYLVHG5HOHDVH

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                                                                                                                -XGJPHQW²3DJH              RI
'()(1'$17 HADAR M. ROJAS-ZARATE
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                               STANDARD CONDITIONS OF SUPERVISION &RQWLQXHG
       7KHGHIHQGDQWPXVWEHWUXWKIXOZKHQUHVSRQGLQJWRWKHTXHVWLRQVDVNHGE\WKHSUREDWLRQRIILFHU

       7KHGHIHQGDQWPXVWOLYHDWDSODFHDSSURYHGE\WKHSUREDWLRQRIILFHU,IWKHGHIHQGDQWSODQVWRFKDQJHZKHUHKHRUVKHOLYHV
         RUDQ\WKLQJDERXWKLVRUKHUOLYLQJDUUDQJHPHQWV VXFKDVWKHSHRSOHWKHGHIHQGDQWOLYHVZLWK WKHGHIHQGDQWPXVWQRWLI\WKH
         SUREDWLRQRIILFHUDWOHDVWFDOHQGDUGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJWKHSUREDWLRQRIILFHULQDGYDQFHLVQRWSRVVLEOHGXH
         WR XQDQWLFLSDWHG FLUFXPVWDQFHV WKH GHIHQGDQW PXVW QRWLI\ WKH SUREDWLRQ RIILFHU ZLWKLQ  KRXUV RI EHFRPLQJ DZDUH RI D
         FKDQJHRUH[SHFWHGFKDQJH

        7KHGHIHQGDQWPXVWDOORZWKHSUREDWLRQRIILFHUWRYLVLWWKHGHIHQGDQWDWUHDVRQDEOHWLPHVDWKLVRUKHUKRPHRUHOVHZKHUHDQG
          WKHGHIHQGDQWPXVWSHUPLWWKHSUREDWLRQRIILFHUWRWDNHDQ\LWHPVSURKLELWHGE\WKHFRQGLWLRQVRIWKHGHIHQGDQW¶VVXSHUYLVLRQ
          WKDWKHRUVKHREVHUYHVLQSODLQYLHZ

       7KHGHIHQGDQWPXVWZRUNIXOOWLPH DWOHDVWKRXUVSHUZHHN DWDODZIXOW\SHRIHPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHU
         H[FXVHVWKHGHIHQGDQWIURPGRLQJVR,IWKHGHIHQGDQWGRHVQRWKDYHIXOOWLPHHPSOR\PHQWKHRUVKHPXVWWU\WRILQGIXOOWLPH
         HPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHUH[FXVHVWKHGHIHQGDQWIURPGRLQJVR,IWKHGHIHQGDQWSODQVWRFKDQJHZKHUHWKH
         GHIHQGDQWZRUNVRUDQ\WKLQJDERXWKLVRUKHUZRUN VXFKDVWKHSRVLWLRQRUWKHMREUHVSRQVLELOLWLHV WKHGHIHQGDQWPXVWQRWLI\
         WKHSUREDWLRQRIILFHUDWOHDVWFDOHQGDUGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJWKHSUREDWLRQRIILFHULQDGYDQFHLVQRWSRVVLEOH
         GXHWRXQDQWLFLSDWHGFLUFXPVWDQFHVWKHGHIHQGDQWPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUVRIEHFRPLQJDZDUHRID
         FKDQJHRUH[SHFWHGFKDQJH

       7KHGHIHQGDQWPXVWQRWFRPPXQLFDWHRULQWHUDFWZLWKVRPHRQHWKHGHIHQGDQWNQRZVLVHQJDJHGLQFULPLQDODFWLYLW\,IWKH
         GHIHQGDQWNQRZVVRPHRQHKDVEHHQFRQYLFWHGRIDIHORQ\WKHGHIHQGDQWPXVWQRWNQRZLQJO\FRPPXQLFDWHRULQWHUDFWZLWK
         WKDWSHUVRQZLWKRXWILUVWJHWWLQJWKHSHUPLVVLRQRIWKHSUREDWLRQRIILFHU

       ,I WKH GHIHQGDQW LV DUUHVWHG RU KDV DQ\ RIILFLDO FRQWDFW ZLWK D ODZ HQIRUFHPHQW RIILFHU LQ D FLYLO RU FULPLQDO LQYHVWLJDWLYH
         FDSDFLW\WKHGHIHQGDQWPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUV

       7KHGHIHQGDQWPXVWQRWDFWRUPDNHDQ\DJUHHPHQWZLWKDODZHQIRUFHPHQWDJHQF\WRDFWDVDFRQILGHQWLDOKXPDQVRXUFHRU
         LQIRUPDQWZLWKRXWILUVWJHWWLQJWKHSHUPLVVLRQRIWKHFRXUW

       7KHGHIHQGDQWPXVWIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHUUHODWHGWRWKHFRQGLWLRQVRIVXSHUYLVLRQ
            Case 1:15-cr-02042-SAB                    ECF No. 190   filed 09/08/16       PageID.757 Page 5 of 7
$2%    5HY -XGJPHQWLQD&ULPLQDO&DVH
          6KHHW'²6XSHUYLVHG5HOHDVH
                                                                                                 -XGJPHQW²3DJH     5     RI       7
'()(1'$17 HADAR M. ROJAS-ZARATE
&$6(180%(5 1:15CR02042-SAB-2

                                        SPECIAL CONDITIONS OF SUPERVISION

 19) The defendant is prohibited from returning to the United States without advance legal permission from the United States Attorney
 General or his designee. Should the defendant reenter the United States, the defendant is required to report to the probation office
 within 72 hours of reentry.
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$2%    5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV
                                                                                                   -XGJPHQW²3DJH      6      RI         7
'()(1'$17 HADAR M. ROJAS-ZARATE
&$6(180%(5 1:15CR02042-SAB-2
                                                CRIMINAL MONETARY PENALTIES
     7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                      Assessment                                    Fine                                  Restitution
TOTALS                $100.00                                       $0.00                                 $0.00


G 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO           $QAmended Judgment in a Criminal Case $2& ZLOOEHHQWHUHG
    DIWHUVXFKGHWHUPLQDWLRQ

G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
    ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
    WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
    EHIRUHWKH8QLWHG6WDWHVLVSDLG

Name of Payee                                                        Total Loss*          Restitution Ordered        Priority or Percentage




TOTALS                                                    0.00                                  0.00


G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
      ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
      WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

G     7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

      G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH G ILQH G UHVWLWXWLRQ
      G WKHLQWHUHVWUHTXLUHPHQWIRUWKH G ILQH G UHVWLWXWLRQLVPRGLILHGDVIROORZV


 )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRPPLWWHGRQRUDIWHU
6HSWHPEHUEXWEHIRUH$SULO
               Case 1:15-cr-02042-SAB                    ECF No. 190         filed 09/08/16      PageID.759 Page 7 of 7
$2%    5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW²6FKHGXOHRI3D\PHQWV

                                                                                                         -XGJPHQW²3DJH      7     RI       7
'()(1'$17 HADAR M. ROJAS-ZARATE
&$6(180%(5 1:15CR02042-SAB-2

                                                        SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVDUHGXHDVIROORZV

A     G    /XPSVXPSD\PHQWRI                            GXHLPPHGLDWHO\EDODQFHGXH

           G     QRWODWHUWKDQ                                   RU
           G     LQDFFRUGDQFH           G &          G '   G     (RU    G )EHORZRU
B     ✔ 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK
      G                                                                     G &     G 'RU     ✔)EHORZ RU
                                                                                                 G
C     G    3D\PHQWLQHTXDO                    HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                      RYHUDSHULRGRI
                        HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUWKHGDWHRIWKLVMXGJPHQWRU

D     G    3D\PHQWLQHTXDO                     HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                    RYHUDSHULRGRI
                         HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
           WHUPRIVXSHUYLVLRQRU

E     G    3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                  HJRUGD\V DIWHUUHOHDVHIURP
           LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

F     ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
      G
     Defendant shall participate in the BOP Inmate Financial Responsibility Program. During the time of incarceration, monetary
     penalties are payable on a quarterly basis of not less than $25.00 per quarter.

     While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or 10% of the
     defendant's net household income, whichever is larger, commencing 30 days after the defendant is released from imprisonment.


8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXH
GXULQJLPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHSW WKRVH SD\PHQWVPDGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶,QPDWH)LQDQFLDO
5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHIROORZLQJDGGUHVVXQWLOPRQHWDU\SHQDOWLHVDUHSDLGLQIXOO&OHUN86'LVWULFW&RXUW$WWHQWLRQ
)LQDQFH32%R[6SRNDQH:$

7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG

G     -RLQWDQG6HYHUDO

      'HIHQGDQWDQG&R'HIHQGDQWV1DPHVDQG&DVH1XPEHUV LQFOXGLQJGHIHQGDQWQXPEHU 7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
      DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH




G     7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ

G     7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 

G     7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV




3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
  ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
